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  10
        Attorney for Plaintiff Miner, Ltd.
  11

  12
                                UNITED STATES DISTRICT COURT
  13                           CENTRAL DISTRICT OF CALIFORNIA
                                      WESTERN DIVISION
  14
        MINER, LTD.,                                  )   Case No: 2:19-cv-6426 FMO (SKx)
  15                                                  )
  16                    Plaintiff,                    )
                                                      )   ORDER ON STIPULATION [49] RE:
  17                                                  )
                  vs.                                     DISMISSAL
  18                                                  )
        BROCK WILLIAM LIVESEY, JOHN                   )   Hon. Fernando M. Olguin
  19                                                  )
        BARCLAY CHAMBERLAND,
  20    MATTHEW PEGAN, and COASTAL                    )
        DOORS,                                        )
  21                                                  )
                                                      )
  22                    Defendants.                   )
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                  THE COURT, having considered the joint stipulation for dismissal filed by all
  25

  26 of the parties to this action, and good cause appearing therefor;

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                  IT IS ORDERED dismissing this action with prejudice; and
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                                                    1
                                      [PROPOSED] ORDER OF DISMISSAL
       559857v2
Case 2:19-cv-06426-FMO-SK Document 50 Filed 10/16/20 Page 2 of 3 Page ID #:351



   1              IT IS FURTHER ORDERED that each party shall bear its own fees and costs
   2
       for this action.
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   4
       DATED: October 16, 2020                 __________/s/_____________________
   5                                           Hon. Fernando M. Olguin
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  26                                      PROOF OF SERVICE
        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  27

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                                                   2
                                     [PROPOSED] ORDER OF DISMISSAL
       559857v2
Case 2:19-cv-06426-FMO-SK Document 50 Filed 10/16/20 Page 3 of 3 Page ID #:352



   1         I am employed in the City of Torrance, County of Los Angeles, State of California. I am over the age
     of 18 years and not a party to the within action. My business address is 19191 South Vermont Avenue, Suite
   2 420, Torrance, California, 90502. On the date signed below, I served the documents named below on the
     parties in this action as follows:
   3
       [PROPOSED] ORDER OF DISMISSAL
   4
       Upon the parties named below as follows:
   5

   6 Leonard Brazil, Esq.
       Clark and Trevithick
   7   445 South Figueroa Street 18th Floor
       Los Angeles, CA 90071-1605
   8   TEL: 213-629-5700
       FAX: 213-624-9441
   9   lbrazil@clarktrev.com
       Counsel for Defendants Brock William Livesey, John Barclay Chamberland, Matthew PeGan and Coastal
  10   Doors
       (via ECF)
  11

  12              (BY MAIL WHERE INDICATED) I caused the above referenced document(s) to be placed in an
                  envelope, with postage thereon fully prepaid, and placed in the United States mail at Torrance,
  13              California. I am readily familiar with the practice of the firm for collection and processing of
                  correspondence for mailing, said practice being that in the ordinary course of business, mail is
  14              deposited in the United States Postal Service the same day as it is placed for collection. I am aware
                  that on motion of the party served, service is presumed invalid if postal cancellation date or postage
  15              meter date is more than one day after date of deposit for mailing in affidavit.
  16
                  (ELECTRONIC TRANSMISSION WHERE INDICATED) I caused the above referenced
  17              document(s) to be transmitted electronically to the interested parties in this action in their most
                  recently known email addresses, via the Court’s ECF system.
  18
                  (BY FEDERAL EXPRESS WHERE INDICATED) I am readily familiar with the practice of the
  19              firm for the collection and processing of correspondence for overnight delivery and know that the
                  document(s) described herein will be deposited in a box or other facility regularly maintained by
  20
                  Federal Express for overnight delivery.
  21
                  (STATE) I declare under penalty of perjury under the laws of the State of California that the above
  22
                  is true and correct.
  23              (FEDERAL) I declare that I am employed in the office of a member of the bar of this court, at whose
  24              direction this service was made.

  25              Executed on October 14, 2020 at Torrance, California.             /s/ Yuko Perdue
                                                                                            Yuko Perdue
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                                             [PROPOSED] ORDER OF DISMISSAL
       559857v2
